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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
CAUSE OF ACTION INSTITUTE,             )
                                       )
            Plaintiff,                 )
                                       )
      v.                               ) Civil Action No. 18-1800 (APM)
                                       )
U.S. DEPARTMENT OF JUSTICE,            )
                                       )
            Defendant.                 )
______________________________________ )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated June 6, 2019, the Parties file this Joint Status

Report to apprise the Court of their progress in this Freedom of Information Act (“FOIA”) case.

Plaintiff seeks records of work-related communications created or received on non-governmental

email accounts by former FBI Director James Comey, former FBI Chief of Staff James Rybicki,

and former DOJ Director of Public Affairs Sarah Isgur Flores. Plaintiff submitted three requests

to the Federal Bureau of Investigation (“FBI”), the DOJ Office of Information Policy (“OIP”),

and the DOJ Office of the Inspector General (“OIG”).

       FBI: As previously reported in the Parties’ last status report, see ECF No. 25, the FBI

made its initial release to Plaintiff on February 28, 2019, and is currently processing

approximately 2,964 pages of records referred from OIG (discussed below). The FBI expects to

process approximately 500 pages of records per month and plans to make its first interim release

on or about July 31, 2019. The FBI will make subsequent productions the last day of every

month until the expected completion of productions by January 2020. Plaintiff is currently

reviewing the FBI’s productions and awaiting the FBI’s response regarding the referred

documents.
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       OIG: The OIG responded by letter on August 31, 2018, stating that it had closed the

request because any responsive records would have originated with the FBI, and that, whereas

normally the request would be referred to the FBI, Plaintiff’s request to OIG had stated that

Plaintiff was “not interested in [OIG] referring this request” because it was sending a “separate

FOIA request directly to the FBI.” After conferring, the parties have agreed that OIG will

process Plaintiff’s request but it will treat it as a new request, dated October 22, 2018, but only

for purposes of determining whether Plaintiff is a prevailing party entitled to attorneys’ fees.

OIG has completed processing Plaintiff’s request and located documents that originated with the

FBI. On March 12, 2019, OIG referred approximately 2,964 pages of records to the FBI for

processing.

       OIP: The OIP completed its search and released responsive documents with

withholdings that Plaintiff is not challenging. Plaintiff, however, has raised a concern about the

adequacy of OIP’s search – specifically, whether it has sufficiently covered emails originating

from an official’s private Gmail address. Plaintiff filed a motion to compel the preservation of

any such documents on February 27, 2019, see ECF No. 17, which the Court granted in an Order

dated April 25, 2019. On May 9, 2019, Defendant filed a notice to the Court that Defendant had

complied with the preservation order.

       The parties require additional time to confer regarding the above and propose to file

another status report by July 6, 2019.




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                     Respectfully submitted,

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